                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  GREG ADKISSON, et al.,                    )
            Plaintiffs,                     )
  v.                                        )    No.: 3:13-CV-505-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )        Lead Case Consolidated with
                                            )
  KEVIN THOMPSON, et al.,                   )
            Plaintiffs,                     )
  v.                                        )    No.: 3:13-CV-666-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )        as consolidated with
                                            )
  JOE CUNNINGHAM, et al.,                   )
            Plaintiffs,                     )
  v.                                        )    No.: 3:14-CV-20-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )
                                            )
  BILL ROSE,                                )
               Plaintiff,                   )
  v.                                        )    No.: 3:15-CV-17-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )
                                            )
  CRAIG WILKINSON, et al.,                  )
            Plaintiffs,                     )
  v.                                        )    No.: 3:15-CV-274-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )
                                            )
  ANGIE SHELTON, as wife and next of        )
  kin on behalf of Mike Shelton, et al.,    )
                 Plaintiffs,                )
  v.                                        )    No.: 3:15-CV-420-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
                 Defendant.                 )
                                            )




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  JOHNNY CHURCH,                                       )
            Plaintiff,                                 )
  v.                                                   )     No.: 3:15-CV-460-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                      )
            Defendant.                                 )
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                                                       )
  DONALD R. VANGUILDER, JR.,                           )
             Plaintiff,                                )
  v.                                                   )     No.: 3:15-CV-462-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                      )
             Defendant.                                )
                                                       )
                                                       )
  JUDY IVENS, as sister and next of kin,               )
  on behalf of JEAN NANCE, deceased,                   )
                 Plaintiff,                            )
  v.                                                   )      No.: 3:16-CV-635-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                      )
                 Defendant.                            )
                                                       )
                                                       )
  PAUL RANDY FARROW,                                   )
            Plaintiff,                                 )
  v.                                                   )      No.: 3:16-CV-636-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                      )
            Defendant.                                 )
                                                       )

                                 MEMORANDUM AND ORDER

         This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court, and

  Standing Order 13-02.

         Now before the Court is Plaintiffs’ Motion to Withdraw the Subpoena of Al Rios [Doc. 635],

  filed on October 16, 2020. Plaintiffs move to withdraw the subpoena issued on October 12, 2020

  [Doc. 618] pursuant to Federal Rule of Civil Procedure 45 to secure the deposition testimony of Al

  Rios. The proposed deponent, Mr. Rios, subsequently wrote the Court, detailing how the subpoena

  would impose an undue burden. [Doc. 626].

         Accordingly, Plaintiffs’ Motion to Withdraw the Subpoena [Doc. 635] is GRANTED, and


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  the Subpoena of Mr. Rios [Doc. 618] is WITHDRAWN. The Clerk of Court is also DIRECTED

  to mail this Order to the address listed by Mr. Rios in his letter to the Court.

         IT IS SO ORDERED.

                                                 ENTER:


                                                 United States Magistrate Judge




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